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 4
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 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                                 *****
11   UNITED STATES OF AMERICA,                     )       Case No CR-08-0212 OWW
                                                   )
12                                                 )       EX PARTE APPLICATION FOR
                                                   )       AN ORDER TO DISCLOSE THE
13                          Plaintiffs,            )       SEALED TRANSCRIPT OF THE IN
                                                   )       CAMERA HEARING HELD ON
14   vs.                                           )       JANUARY 5, 2009 AND ORDER
                                                   )       THEREON
15   SUKHRAJ DHALIWAL                              )
                                                   )
16                          Defendant.             )
17
18          Defendant SUKHRAJ DHALIWAL hereby applies to this Court for an order disclosing
19   the sealed transcripts of the in camera hearing held on January 5, 2009 to Defendant’s counsel,
20   W. Scott Quinlan. Defendant’s counsel was appointed to represent him and to prepare on his
21   behalf post-trial motions for new trial and for an acquittal, and to represent him at sentencing.
22   Defense counsel is in the process of requesting a copy of the transcript of the January 5, 2009
23   proceeding.
24          There is good cause for this application in that the transcript is of an in camera
25   proceeding at which co-defendant’s were excluded. That hearing potentially dealt with
26   ///
27   ///
28   ///
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 1   attorney/client and conflict of interest matters regarding payment of Mr. Faller’s fee (counsel for
 2   Mr. Dhaliwal) by a co-defendant which should remain undisclosed to all but defendant’s counsel.
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 4   Dated: November 9, 2009                               Respectfully submitted,
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 7
 8                                                           /s/ W. Scott Quinlan
                                                           W. Scott Quinlan, Attorney for Defendant
 9                                                         SUKHRAJ DHALIWAL
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15          Upon application of the defendant, and GOOD CAUSE APPEARING THEREFOR, it is
16   ordered that the transcript of the in camera hearing held on January 5, 2009 shall be disclosed to
17   counsel for Defendant SUKHRAJ DHALIWAL pending further order of this Court, the
18   transcript shall remain under seal and counsel for Dhaliwal shall not disclose its contents without
19   further order of the Court.
20
21   IT IS SO ORDERED
22
23
24   Dated: November 17, 2009                                     /s/ OLIVER W. WANGER
                                                                  Honorable Oliver W. Wanger
25                                                                United States District Court Judge
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28                                                    2
